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10    UnitedHealthcare Insurance Company

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13                                 UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN FRANCISCO DIVISION
16

17   SALOOJAS, INC.,                                           Case No.: 3:22-cv-03536-WHA
                                                               Hon. William Alsup
18          Plaintiff,

19
            v.                                                 STIPULATION TO EXTEND TIME FOR
20                                                             DEFENDANT TO FILE RESPONSIVE
                                                               PLEADING
21   UNITEDHEALTHCARE INSURANCE
     COMPANY,
22
             Defendant.                                        Complaint Filed:     June 15, 2022
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26          Pursuant to Civil Local Rule 6-1(a), Defendant UnitedHealthcare Insurance Company

27   (“United”) and Plaintiff Saloojas, Inc. (“Plaintiff”), by and through their respective counsel of record,

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                                                         1
                                                     STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                                                                 Case No.: 3:22-cv-03536-WHA
          Case 3:22-cv-03536-WHA Document 13 Filed 07/12/22 Page 2 of 3




 1   stipulate as follows:

 2          WHEREAS, Plaintiff served its Complaint on June 22, 2022;

 3          WHEREAS, United currently has until July 13, 2022 to answer or respond to Plaintiff’s

 4   Complaint;

 5          WHEREAS, United has requested, and Plaintiff has consented to, an additional four weeks (28

 6   days) for United to answer or respond to the Complaint;

 7          WHEREAS, an additional 28 days for United’s answer or response to the Complaint will not

 8   alter the date of any event or any deadline already fixed by the Court order;

 9          NOW, THEREFORE, IT IS HEREBY STIPULATED pursuant to Civil Local Rule 6-1(a), by

10   and between the parties, through their respective counsel, that United shall answer or otherwise

11   respond to the Complaint by August 10, 2022.

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13          IT IS SO STIPULATED.

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15    DATED: July 11, 2022                                  ALSTON & BIRD LLP

16
                                                            By:   /s/ Kimberly Chemerinsky_______
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18                                                          LAW OFFICE OF MICHAEL LYNN
      DATED: July 11, 2022                                  GABRIEL
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                                                            By: / s / Michael Lynn Gabriel
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                                                        2
                                                    STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                                                                Case No.: 3:22-cv-03536-WHA
          Case 3:22-cv-03536-WHA Document 13 Filed 07/12/22 Page 3 of 3




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 2                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 3          Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence in

 4   the filing of this document has been obtained from the signatories above.

 5

 6
     DATED: July 11, 2022                                   /s/ Kimberly Chemerinsky
 7                                                          Kimberly Chemerinsky
 8                                                          ALSTON & BIRD LLP
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 9                                                          Los Angeles, California 90071
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10                                                          Facsimile: (213) 576-1100
11                                                          Counsel for Defendant UnitedHealthcare
12                                                          Insurance Company

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                                                    STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                                                                Case No.: 3:22-cv-03536-WHA
